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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


    UNITED STATES OF AMERICA

          v.                                       Case No. 22-cr-00350 (JEB)

    JUSTIN DEE ADAMS,

               Defendant.

                       GOVERNMENT’S SENTENCING MEMORANDUM

          The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this sentencing memorandum in connection with

the above-captioned matter. For the reasons set forth herein, the government requests that this

Court sentence Justin Dee Adams to 27 months of imprisonment—the midpoint of the Guidelines

range—three years of supervised release, $2,000 in restitution, and the mandatory $100 special

assessment.

     I.         INTRODUCTION

          The defendant, Justin Adams, participated in the January 6, 2021 attack on the United

States Capitol—a violent attack which interrupted the certification of the 2020 Electoral College

vote count, threatened the peaceful transfer of power after the 2020 Presidential election, injured

more than one hundred police officers, and resulted in more than 2.9 million dollars in losses. 1


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  As of July 7, 2023, the approximate losses suffered as a result of the siege at the United States
Capitol was $2,923,080.05. That amount reflects, among other things, damage to the United States
Capitol building and grounds and certain costs borne by the United States Capitol Police. The
Metropolitan Police Department (“MPD”) also suffered losses as a result of January 6, 2021, and
is also a victim. MPD recently submitted a total of approximately $629,056 in restitution amounts,
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         Adams, a licensed gun dealer from West Jordan, Utah with a history of assaultive and

disorderly conduct, was part of the mob that stormed the police line on the West Front of the

Capitol. While attacking the police line, Adams struck a Metropolitan Police Department (MPD)

Lieutenant twice in the head. After assaulting the officer, other rioters pulled Adams back, but he

continued to yell and threaten officers. Several minutes after assaulting the MPD Lieutenant,

Adams threw a plastic bottle at another MPD officer. This officer was one of many who attempted

to prevent Adams and other rioters from removing metal barricades and advancing further toward

the Capitol. After throwing the bottle, Adams forcefully pulled a piece of the barricade out of the

hands of a police officer and dragged it away into the mob. Minutes later, rioters surged through a

gap in the police line created by Adams’ removal of the barricade link, taking over the Upper West

Plaza, and eventually pouring into the Capitol building.

         The government’s recommendation of a 27-month sentence reflects the gravity of Adams’s

conduct and serves the sentencing purposes laid out in 18 U.S.C. 3553(a), while also giving due

consideration to his guilty plea.

   II.        FACTUAL BACKGROUND

         A.     The January 6, 2021 Attack on the Capitol

         The government refers the Court to the stipulated Statement of Offense filed in this case,

ECF No. 20, for a short summary of the January 6, 2021 attack on the United States Capitol by




but the government has not yet included this number in our overall restitution summary ($2.9
million) as reflected in this memorandum. However, in consultation with individual MPD victim
officers, the government has sought restitution based on a case-by-case evaluation.

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hundreds of rioters in an effort to disrupt the peaceful transfer of power after the November 3,

2020 presidential election.

        B. Justin Adams’s Role in the January 6, 2021 Attack on the Capitol

        Justin Adams participated in the January 6 attack on the Capitol. His crimes are

documented through a series of videos provided to the FBI by concerned citizens, body worn

cameras from the MPD, open-source video, and surveillance footage.

        Adams drove his vehicle to Washington, D.C. from his home in Utah with two other men.

Shortly before coming to Washington D.C., Adams posted a photo of himself and two other men

on his Parler account along with a text stating that they were “starting the road trip for Washington

D.C.”




           Figure 1 – Photo posted to Adams’s Parler account, @JDGNG. Adams is the individual on the left,
                            wearing the black jacket with white stripes and camouflage pants

In addition, previewing his violent plans, Adams posted the text below on Parler, which reads in

part, “driving out to DC to smack a couple of politicians around.”




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                 Figure 2 - Part of the text posted to Adams’s Parler account before he arrived in DC

       As discussed in the Statement of Offense, ECF No. 20, at 12:58 p.m. January 6, 2021,

rioters breached a set of barricades located at the Peace Circle which demarcated the restricted

Capitol Grounds, pushed past a handful of United States Capitol Police (USCP) officers, and began

flooding into the Capitol’s Lower West Plaza. There, police officers had established a defensive

line consisting of interconnecting metal bicycle racks running North to South, with officers—some

in riot gear—stationed inside of the line between rioters and the Capitol Building. As the mob

arrived at the Lower West Plaza, they and law enforcement officers began fighting over the

establishment and reinforcement of the defensive line, a fight that lasted for the next hour and a

half and involved the use of fists, batons, makeshift projectiles, pepper spray, pepper balls,

concussion grenades, smoke bombs, and other weaponry brought to the Capitol building by the

rioters or seized from the inaugural stage construction site.




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  Figures 3 through 6 - The breach of the West Plaza barricades (top left) was followed by the formation of a USCP officer wall
(top right) until MPD officers arrived with bike rack barriers for a defensive line at the top of the West Plaza stairs (bottom left).
The bottom right photo shows the nearly completed bicycle rack barrier line as of 1:39 p.m., which was later completely overrun.

          Following the conclusion of the former president’s speech at approximately 1:15 p.m., the

crowd on the Lower West Plaza rapidly increased in size, supplemented by individuals who walked

from the Ellipse to the Capitol. At 2:03 p.m., public officials began broadcasting a recorded

dispersal order to the crowd. It began with two blaring tones, followed by a 30-second

announcement, which was played on a continuous loop: “This area is now a restricted access area

pursuant to D.C. Official Code 22-1307(b). All people must leave the area immediately. This order

may subject you to arrest and may subject you to the use of a riot control agent or impact weapon.”

          At approximately the same time, MPD Civil Disorder Unit 42 (CDU-42) arrived on the

North side of the Lower West Plaza to reinforce USCP officers stationed there. MPD Lieutenant

W.H. commanded CDU-42, which was comprised of approximately 20 officers wearing riot gear.

As CDU-42 officers began to make their way through the crowd towards the previously formed

police line, multiple rioters assaulted them and forced them to a momentary standstill. W.H then

ordered the CDU-42 officers to keep pushing forward through the mob. When those officers finally

arrived at the police line, the officers in that line opened a space in the line for them to enter

through. W.H. stood on the outside of the metal bike rack barricade, helping his officers file into

the safe area, and verifying that the entire squad made it through the mob.
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                                   Adams Assaults MPD Officer W.H.

       At this point, Defendant Adams, a thickly-set man who is six feet and two inches tall, began

his assaultive conduct. Specifically, at 2:04 p.m., he emerged from the mob and walked toward the

line of CDU-42 officers with his hands raised over his head. Adams walked straight at the officers

until he intentionally pushed into them, forcing the officers to move around him.




  Figure 7 - MPD Body Worn Camera (BWC) Video showing Adams walking toward CDU-42 officers filing into the safe area
                                             behind the barricade




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                         Figure 8 - MPD BWC video showing Adams pushing into an officer

       As Adams walked into the officers, W.H. pushed Adams back several feet. Adams then

turned and charged at the police line, attacking W.H. and other police officers who attempted to

push him back.




              Figure 9 - Third-party video showing Adams moving toward W.H. (wearing a yellow jacket)




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                            Figure 10 - MPD BWC video of Adams attacking W.H.




                    Figure 11 – Recording from W.H.’s BWC showing Adams attacking him.



Adams struck W.H. twice in the head with his hands. One of the blows hit the face mask of

W.H.’s helmet. The second blow hit W.H.’s face underneath the mask.



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           Figure 12 - Third-party video of Adams first blow (circled in red), making contact with W.H.’s helmet




    Figure 13 - Third-party video of Admas’s second blow (circled in red), hitting W.H.’s face underneath the face mask

       After Adams struck W.H., other officers immediately pushed him back. But Adams

continued to gesture aggressively and yell at the officers, “Push me again! Push me again!”

Other rioters attempted to hold Adams back from rushing at the police again. During this time,

W.H. and the last members of CDU-42 were finally able to get behind the police line.

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       Figure 14 - MPD BWC video showing Adams threatening police officers, while another rioter holds him back



Adams Hits Another Officer with a Plastic Bottle and Removes a Link in the Police Barricade

       After attacking W.H., Adams sat down for several minutes. Adams got up again around

2:10 p.m. and went back to the front of the mob confronting the police line. Adams then picked

up a pair of handcuffs that an officer had dropped, handed them to one officer, and advised a

different officer to go to “higher ground.”

       At 2:13 p.m., Adams moved to the end of the police line and began attempting to

disconnect one of the bicycle rack links in the barricade the police used to hold the rioters back.




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                    Figure 15 - BWC video of Adams attempting to remove a police barricade

At this moment, numerous other rioters were yelling and fighting with the police. When an

officer attempted to prevent Adams from removing the barricade, Adams threw a water bottle at

the officer.




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Figure 16 - MPD BWC video of Adams throwing a plastic bottle at a police officer trying to stop him from removing a barricade

         Seconds later, Adams grabbed the barricade with both hands and pulled it away from

several police officers.




                               Figure 17 - MPD BWC of Adams removing the police barricade

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Adams and another rioter dragged the barrier away from the police line, and it disappeared into

the mob.




       Figure 18 - MPD BWC video of the barricade Adams removed (circled in red) being taken away into the mob

       Removing the barrier created a gap in the police line which officers attempted to fill with

their bodies. But despite the officers’ efforts, at approximately 2:28, rioters succeeded in

overwhelming the police and surged through the gap that Adams had created, flooding into the




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West Plaza of the Capitol. The police defensive line crumbled in multiple places, and a general

retreat was called. Many of these rioters subsequently entered the Capitol building.




Figures 19-21 – Breakthroughs in the defensive line on both the left and right flanks (top image) caused the entire police line to
collapse. As the crowd swallowed individual officers (middle image), many were assaulted as they retreated through doors and

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                             stairwells up onto the inaugural stage (bottom image).

       After the riot, Adams posted on Parler that “[w]e safely made it out of Washington DC

before the lockdown, and before the gunfire of the capitol police[.] Got a little roughed up but the

politicians are no longer meeting the standards We the People require our elected officials to meet.”




                           Figure 22 - Post from Adams’s Parler account, @JDGNG

                                    Adams Statements to the FBI

       On October 17, 2023, after agreeing to plead guilty, Adams participated in a voluntary

interview with the FBI in the presence of his lawyer. During the interview, Adams explained that

he and two individuals whose names he claimed to not know drove in his vehicle from Utah to

Washington D.C. to attend a protest related to the 2020 presidential election. After the interviewing

agents confronted Adams with the names of the friends that he travelled with, Adams then admitted

to knowing them.

       Adams stated that he and his friends walked with a large group of people to the West side

of the Capitol building, where he saw that law enforcement officers had set up barricades and

deployed chemical agents. Adams said that he stood near one of those barriers, which a law
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enforcement officer subsequently opened to let other officers into the barricaded area. Adams then

stated that he did not try to push or be aggressive towards the police, but when one officer pushed

him to the ground, he became upset and pushed back. The interviewing Agent asked Adams if he

had pushed or punched the officer, and Adams maintained that it was a “push.”

          Adams said that he later took a bike rack barrier into the crowd. He took the barrier because

he was upset that police officers were blocking entry to the United States Capitol and that he had

been exposed to chemical agents.

   III.      THE CHARGES AND PLEA AGREEMENT

          On October 26, 2022, a federal grand jury returned a five-count indictment charging Adams

with, amongst other offenses, violating 18 U.S.C. § 111(a) (assault on a federal officer). On August

24, 2023, Adams pled guilty to that offense pursuant to a plea agreement.

   IV.       STATUTORY PENALTIES

          Adams now faces sentencing on 18 U.S.C. § 111(a). As noted by the plea agreement and

the Presentence Report (PSR) issued by the U.S. Probation Office, Adams faces up to 8 years of

imprisonment, a term of supervised release of not more than three years, a fine up to $250,000,

$2,000 in restitution, and a mandatory special assessment of $100.

   V.        THE SENTENCING GUIDELINES AND GUIDELINES ANALYSIS

          As the Supreme Court has instructed, the Court “should begin all sentencing proceedings

by correctly calculating the applicable Guidelines range.” United States v. Gall, 552 U.S. 38, 49

(2007). The plea agreement and PSR set the base offense level at 14 pursuant to U.S.S.G.

§2A2.2(a), and include the §3A1.2(c)(1) six-level enhancement because Adams’ conduct during


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the instant offense was knowingly perpetrated against a police officer. PSR ⁋ 34. Adams

knowingly: (1) walked into and made physical contact with CDU-42 officers attempting to

reinforce the defensive line at the Lower West Plaza; (2) hit MPD Lieutenant W.H. twice in the

head; (3) threw a plastic bottle at another officer; and (4) pulled a bike rack out of the hands of an

officer and handed it back into the mob of rioters. The PSR also includes a two-level reduction

pursuant to §3E1.1(a), since Adams demonstrated acceptance of responsibility by pleading guilty

to the charge against him in this matter and through his disclosures made during the presentence

investigation (although they required prompting from the interviewing agents), and a one-level

reduction pursuant to §3E1.1(b) since Adams’s base offense level prior to taking §3E1.1(a) is

greater than 16.

       The parties thus agree on the following Guidelines calculation:

       Count Two: 18 U.S.C. § 111(a)(1)

               U.S.S.G. § 2A2.2(a) 2           Base Offense Level                             14
               U.S.S.G. § 3A1.2(b)             Official Victim                                +6
               U.S.S.G. § 3E1.1                Acceptance of Responsibility                   -3

                                                                              Total           17
See Plea Agreement at ¶¶ 5(A).

       Recent amendments to the Sentencing Guidelines for 2023 include a new guideline,

U.S.S.G. § 4C1.1, which provides for a two-level decrease in the offense level for offenders who

have no criminal history points and who meet certain additional criteria. Section 4C1.1 does not



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  By cross-reference from U.S.S.G. § 2A2.4(c)(1) (Obstructing or Impeding Officers), which
directs that Section § 2A2.2 (Aggravated Assault) be applied if the conduct constituted aggravated
assault.
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apply in this case because Adams engaged in violence on January 6. See U.S.S.G. § 4C1.1(3). The

government is aware of at least two cases in which courts have rejected the application of § 4C1.1

to January 6 defendants who engaged in violence, United States v. Gundersen, 21-cr-137 (RC) and

United States v. Baquero, 21-cr-702 (JEB).

       Further, the January 6 riot was a violent attack that threatened the lives of legislators and

their staff, interrupted the certification of the 2020 Electoral College vote count, did irrevocable

harm to our nation’s tradition of the peaceful transfer of power, caused more than $2.9 million in

losses, and injured more than one hundred police officers. Every rioter, whether or not they

personally engaged in violence or personally threatened violence, contributed to this harm. See,

e.g., United States v. Rivera, 21-cr-60 (CKK), ECF No. 62 at 13 (“Just as heavy rains cause a flood

in a field, each individual raindrop itself contributes to that flood. Only when all of the floodwaters

subside is order restored to the field. The same idea applies in these circumstances. Many rioters

collectively disrupted congressional proceedings and each individual rioters contributed to that

disruption. Because [the defendant’s] presence and conduct in part caused the continued

interruption to Congressional proceedings, the court concludes that [the defendant] in fact impeded

or disrupted the orderly conduct of Government business or official functions”).

       Moreover, the Sentencing Commission enacted § 4C1.1 based on recidivism data for

offenders released in 2010. See U.S. SENT’G COMM’N, RECIDIVISM OF FEDERAL

OFFENDERS RELEASED IN 2010 (2021), available at https://www.ussc.gov/research/research-

reports/recidivism-federal-offenders-released-2010. Given the unprecedented nature of the Capitol

attack, there is no reason to believe this historical data is predictive of recidivism for defendants


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who engaged in acts of political extremism on January 6. This is particularly so given the degree

to which individuals, including defendants who have been sentenced, continue to propagate the

same visceral sentiments which motivated the attack.

         Due to the unique nature of the January 6 mob, the harms caused by the January 6 riot, and

the significant need to deter future mob violence, the government submits that even if the Court

finds that § 4C1.1 applies, the Court should nevertheless vary upwards by two levels to counter

any reduction in offense level. Such treatment would recognize the unique nature of the criminal

events of January 6, 2021, coupled with the overwhelming need to ensure future deterrence, despite

a person’s limited criminal history. Moreover, Adams unique behavior amongst the riot, where he

intentionally and violently assaulted multiple officers, deserves such a variance.

         Finally, to avoid unnecessary litigation, if the court declines to apply § 4C1.1, the

government requests that the Court make clear at sentencing that it would have imposed the same

sentence regardless of whether § 4C1.1 applies.

         The U.S. Probation Office calculated the defendant’s criminal history as category I, which

is not disputed. PSR ¶ 48. Accordingly, based on the government’s calculation of the defendant’s

total adjusted offense level, after acceptance of responsibility, at 17, Adams’s Guidelines

imprisonment range is 24 to 30 months’ imprisonment. The defendant’s plea agreement contains

an agreed-upon Guidelines range calculation that mirrors the calculation contained herein.

   VI.      SENTENCING FACTORS UNDER 18 U.S.C. § 3553(A)

         In this case, sentencing is guided by 18 U.S.C. § 3553(a). As described below, on balance,

the Section 3553(a) factors weigh in favor of the recommended term of incarceration.


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       A.      Nature and Circumstances of the Offense

       As shown in Section II(B) of this memorandum, Adams’s felonious conduct on January 6,

2021 was part of a massive riot that almost succeeded in preventing the certification vote from

being carried out, frustrating the peaceful transition of Presidential power, and throwing the United

States into a Constitutional crisis. Adams stepped out in front of other rioters to push and interfere

with police officers who were trying to get to safety, and attacked officers who were trying to

prevent the mob from crossing police lines. Adams also pulled a police barricade out of the hands

of officers, opening a gap in the police line which other rioters surged through, contributing to

collapsing the police line and assisting the mob’s entrance into the Capitol building. The nature

and circumstances Adams’s offenses were of the utmost seriousness, and fully support the

government’s recommended sentence of 27 months’ incarceration.

       B. The History and Characteristics of the Defendant

       Adams is a licensed gun dealer from West Jordan, Utah with a history of assaultive and

disorderly behavior, both before and after his actions on January 6. Specifically:

   •   In 2019, Adams was convicted of assault and disorderly conduct based upon his

       involvement in a road-rage incident. On January 6, 2019, Adams told the police that he

       was driving his vehicle when he passed a silver truck that was going slower than normal.

       According to Adams, as he passed the truck, the driver flipped him off and started yelling

       at him. The pair stopped at an intersection, where they started fighting. Each driver then

       got back into their vehicles, drove to the nearby gas station, and resumed fighting. Officers

       interviewed the driver of the other vehicle, along with multiple witnesses, who all identified


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    Adams as the aggressor. On February 12, 2019, Adams entered a plea of abeyance and was

    ordered to complete an anger management class and pay a fine of $1,085. See PSR ⁋ 45.

•   On July 26, 2022, Adams was charged by information in the South Jordan Justice Court,

    Salt Lake City, Utah, with disorderly conduct, reckless driving, and driving on a denied

    license. According to the arrest report, Adams allegedly tried to run a woman off the road

    and subsequently banged the roof of her car while her three-year-old child was in the

    back seat, yelling profanities and demanding that she exit the car. A third-party witness

    observed the incident and gave a statement to the police. On October 18, 2022, Adams

    was convicted of disorderly conduct and sentenced to 90 days in jail, all suspended.

    Adams was ordered to pay a fine of $350.00 and placed on probation for one year. See

    PSR ⁋ 46.

•   On October 19, 2022, Adams was arrested and charged with Assault on a Federal Officer

    in violation of 18 U.S.C. § 111(a). According to the PSR, when FBI agents came to

    Adams’s residence and informed him of the outstanding arrest warrant, he responded he

    was not willing to be arrested and retreated into the residence. As an agent grabbed his

    arm, the Adams swung his arm and struck one of the agents in the face with his elbow.

    Adams then continued to physically resist, retreated further into the home, and refused to

    comply with verbal commands. Four agents attempted to restrain Adams and place him in

    handcuffs, but he continued to resist. Once in handcuffs, the defendant continued making

    threatening remarks, such as “I will kick your ass.” Following a two-day jury trial in the

    District of Utah, Adams was acquitted of the charge. See PSR ⁋ 53.


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       As described above, Adams’s crimes on January 6 were not an isolated event in an

otherwise law-abiding life. They came, instead, amidst other prior convictions and arrests for

assaultive conduct, in which Adams became upset and acted violently toward other people. His

history of assaultive behavior is consistent with the statements Adams made both before he

traveled to Washington D.C. and engaged in the January 6 riot— when he said that he was “driving

to DC to smack a couple of politicians around”—and after the riot, when he told FBI Agents that

he assaulted police officers on January 6 because he was “upset” with the police. Adams’s history

of lashing out with violence weighs in favor of the recommended term of incarceration.

       C.      The Need for the Sentence Imposed to Reflect the Seriousness of the Offense
               and Promote Respect for the Law

       As with the nature and circumstances of the offense, this factor supports the recommended

sentence of incarceration. Adams’s criminal conduct on January 6 was the epitome of disrespect

for the law. As this Court stated at the sentencing in U.S. v. Cynthia Ballenger and Christopher

Price, 21-CR-719-JEB, “one of the most important features of a republic is the peaceful transfer

of power where the party that loses an election cedes power to the party that triumphs at the

election. […] And yet on January 6, a mob of people bent on undoing that election gathered in

Washington and ultimately stormed the Capitol….” Understanding Adams’s assault against police

officers within this context further demonstrates the seriousness of the offense and the need for a

sentence of imprisonment in order to promote respect for the rule of law.




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           D.     The Need for the Sentence to Afford Adequate Deterrence

                                        General Deterrence

         A significant sentence is needed “to afford adequate deterrence to criminal conduct” by

others. 18 U.S.C.§ 3553(a)(2)(B). The need to deter others is especially strong in cases involving

domestic terrorism, which the breach of the Capitol certainly was. 3 The demands of general

deterrence weigh strongly in favor of incarceration, as they will for nearly every case arising out

of the violent riot at the Capitol.

                                        Specific Deterrence

         The need for the sentence to provide specific deterrence to this particular defendant also

weighs in favor of incarceration. While Adams agreed to plead guilty and spoke with the FBI, the

statements Adams made in that interview demonstrate that, notwithstanding his guilty plea, he

continues to refuse to fully accept responsibility for his actions, while minimizing his offensive

conduct. For example, Adams insisted that he only “pushed” W.H. Even when shown video of the

attack, he continued to maintain that it was just a “push.” This minimization and refusal to accept

responsibility is consistent with statements he made immediately after January 6 on Parler, in

which he claimed he “got a little roughed up” but “safely made it out of Washington … before the

gunfire of the capitol police.” These statements—which make no mention of Adams’s assault and

breach of the police line—falsely suggest that the police, not Adams and the other the rioters, were

the aggressors.

         Adams’s failure to fully admit to his actions, combined with his pattern of assaultive


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    See 18 U.S.C. § 2331(5) (defining “domestic terrorism”).
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behavior that has continued since January 6, warrant a sentence that provides specific deterrence

from committing future crimes.

       E.      The Importance of the Guidelines

       “The Guidelines as written reflect the fact that the Sentencing Commission examined tens

of thousands of sentences and worked with the help of many others in the law enforcement

community over a long period of time in an effort to fulfill [its] statutory mandate.” Rita v. United

States, 551 U.S. 338, 349 (2007). As required by Congress, the Commission has “‘modif[ied] and

adjust[ed] past practice in the interests of greater rationality, avoiding inconsistency, complying

with congressional instructions, and the like.’” Kimbrough v. United States, 552 U.S. 85, 96 (2007)

(quoting Rita, 551 U.S. at 349); 28 U.S.C. § 994(m). In so doing, the Commission “has the capacity

courts lack to base its determinations on empirical data and national experience, guided by

professional staff with appropriate expertise,” and “to formulate and constantly refine national

sentencing standards.” Kimbrough, 552 U.S. at 108 (cleaned up). Accordingly, courts must give

“respectful consideration to the Guidelines.” Id. at 101.

       F.      Unwarranted Sentencing Disparities

       Section 3553(a)(6) of Title 18 directs a sentencing court to “consider … the need to avoid

unwarranted sentence disparities among defendants with similar records who have been found

guilty of similar conduct.” So long as the sentencing court “correctly calculate[s] and carefully

review[s] the Guidelines range, [it] necessarily [gives] significant weight and consideration to the

need to avoid unwarranted disparities” because “avoidance of unwarranted disparities was clearly

considered by the Sentencing Commission when setting the Guidelines ranges.” Gall v. United


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States, 552 U.S. 38, 54 (2007). In short, “the Sentencing Guidelines are themselves an anti-

disparity formula.” United States v. Blagojevich, 854 F.3d 918, 921 (7th Cir. 2017); accord United

States v. Sanchez, 989 F.3d 523, 540 (7th Cir. 2021). Consequently, a sentence within the

Guidelines range will ordinarily not result in an unwarranted disparity. See United States v.

Smocks, D.D.C. 21-cr-198 (TSC), Sent. Hrg. Tr. at 49 (“as far as disparity goes, … I am being

asked to give a sentence well within the guideline range, and I intend to give a sentence within the

guideline range.”) (statement of Judge Chutkan).

       Moreover, Section 3553(a)(6) does not limit the sentencing court’s broad discretion “to

impose a sentence sufficient, but not greater than necessary, to comply with the purposes” of

sentencing. 18 U.S.C. § 3553(a). After all, the goal of minimizing unwarranted sentencing

disparities in Section 3553(a)(6) is “only one of several factors that must be weighted and

balanced,” and the degree of weight is “firmly committed to the discretion of the sentencing

judge.” United States v. Coppola, 671 F.3d 220, 254 (2d Cir. 2012). The “open-ended” nature of

the Section 3553(a) factors means that “different district courts may have distinct sentencing

philosophies and may emphasize and weigh the individual § 3553(a) factors differently; and every

sentencing decision involves its own set of facts and circumstances regarding the offense and the

offender.” United States v. Gardellini, 545 F.3d 1089, 1093 (D.C. Cir. 2008). “[D]ifferent district

courts can and will sentence differently—differently from the Sentencing Guidelines range,

differently from the sentence an appellate court might have imposed, and differently from how

other district courts might have sentenced that defendant.” Id. at 1095. “As the qualifier




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‘unwarranted’ reflects, this provision leaves plenty of room for differences in sentences when

warranted under the circumstances.” United States v. Brown, 732 F.3d 781, 788 (7th Cir. 2013). 4

       In cases for which the Sentencing Guidelines apply, “[t]he best way to curtail

‘unwarranted’ disparities is to follow the Guidelines, which are designed to treat similar offenses

and offenders similarly.” United States v. Bartlett, 567 F.3d 901, 908 (7th Cir. 2009). See id. (“A

sentence within a Guideline range ‘necessarily’ complies with § 3553(a)(6).”). 5

       Although the defendants discussed below participated in the Capitol breach on January 6,

2021, many salient differences explain the differing recommendations and sentences. While no

previously sentenced case contains the same balance of aggravating and mitigating factors present

here, the sentences in the following cases provide suitable comparisons to the relevant sentencing

considerations in this case.

       For example, in U.S. v. Kevin Creek, 21-CR-645, the defendant pled guilty to one count of

violating 18 U.S.C. 111(a)(1) for actions taken near the same time and location as Adams. As

found by Judge Friedrich, Creek made a deliberate choice to join the mob even after his friends

held back, despite evidence that a violent conflict was underway, and he played a pivotal role in


4
  If anything, the Guidelines ranges in Capitol siege cases are more likely to understate than
overstate the severity of the offense conduct. See United States v. Knutson, D.D.C. 22-cr-31 (FYP),
Aug. 26, 2022 Sent. Hrg. Tr. at 24-25 (“If anything, the guideline range underrepresents the
seriousness of [the defendant’s] conduct because it does not consider the context of the mob
violence that took place on January 6th of 2021.”) (statement of Judge Pan).
5
  A routinely updated table providing additional information about the sentences imposed on other
Capitol breach defendants is available here: https://www.justice.gov/usao-dc/capitol-breach-cases.
To reveal that table, click on the link “SEE SENTENCES HANDED DOWN IN CAPITOL
BREACH CASES.” The table shows that imposition of the government’s recommended sentence
in this case would not result in an unwarranted sentencing disparity.
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breaching the police line and opening the floodgates to the mob’s entry into the Capitol. The same

is true of Adams. Further, like Adams, Creek hit an officer in the face shield of his helmet and

pushed through the bike rack barrier. Creek also shoved and kicked another officer, and he did not

succeed in entering the Capitol building. While noting that Creek had honorable military service,

character letters, and appeared to be deeply committed to his family and community, Judge

Friedrich sentenced Creek to 27 months’ imprisonment, the midpoint of the Guidelines range.

       In U.S. v. Cale Clayton, 1:22-CR-139, Judge Lamberth sentenced another defendant who

assaulted police officers on the West Front of the Capitol to 30 months of incarceration. Clayton

verbally harassed police officers on the Upper West Terrace, yelling taunts such as “You guys are

losing a lot of bodies. We’re coming in, one way or another, we’re coming in.” At one point,

Clayton grabbed an officer’s shield and stole an officer’s baton. When officers attempted to

retrieve the baton from Clayton, he assaulted one of them. Like Adams, Clayton struck the officer

in the helmet and grabbed his face mask. Also similar to Adams, Clayton minimized his actions

when interviewed by the FBI. Notwithstanding significant mitigation evidence presented at

sentencing, Judge Lamberth sentenced Clayton, who pled guilty to two counts of 18 U.S.C.

111(a)(1), to 30 months in prison.

   VII.    RESTITUTION

       The Victim and Witness Protection Act of 1982 (“VWPA”), Pub. L. No. 97-291 § 3579,

96 Stat. 1248 (now codified at 18 U.S.C. § 3663), “provides federal courts with discretionary

authority to order restitution to victims of most federal crimes.” United States v. Papagno, 639

F.3d 1093, 1096 (D.C. Cir. 2011); see 18 U.S.C. § 3663(a)(1)(A) (Title 18 offenses subject to


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restitution under the VWPA). 6 Generally, restitution under the VWPA must “be tied to the loss

caused by the offense of conviction,” Hughey v. United States, 495 U.S. 411, 418 (1990); identify

a specific victim who is “directly and proximately harmed as a result of” the offense of conviction,

18 U.S.C. § 3663(a)(2); and is applied to costs such as the expenses associated with recovering

from bodily injury, 18 U.S.C. § 3663(b). At the same time, the VWPA also authorizes a court to

impose restitution “in any criminal case to the extent agreed to by the parties in a plea agreement.”

See 18 U.S.C. § 3663(a)(3). United States v. Anderson, 545 F.3d 1072, 1078-79 (D.C. Cir. 2008).

       Those principles have straightforward application here. The victim in this case, W.H, did

not suffer bodily injury as a result of Adams’s assault. The parties agreed, as permitted under 18

U.S.C. § 3663(a)(3), that Adams must pay $2,000 in restitution, which reflects in part the role

Adams played in the riot on January 6. 7 Plea Agreement at ¶ 12. As the plea agreement reflects,

the riot at the United States Capitol had caused “approximately $2,881,360.20” in damages, a

figure based on loss estimates supplied by the Architect of the Capitol and other governmental

agencies as of October 2022. Id. (As noted above in footnote 1, the amount of damages has since

been updated by the Architect of the Capitol, USCP, and MPD.) Adams’s restitution payment must

be made to the Clerk of the Court, who will forward the payment to the Architect of the Capitol


6
  The Mandatory Victims Restitution Act, Pub. L. No. 104-132 § 204, 110 Stat. 1214 (codified at
18 U.S.C. § 3663A), “requires restitution in certain federal cases involving a subset of the crimes
covered” in the VWPA, Papagno, 639 F.3d at 1096, including crimes of violence, “an offense
against property … including any offense committed by fraud or deceit,” “in which an identifiable
victim or victims has suffered a physical injury or pecuniary loss.” 18 U.S.C. § 3663A(c)(1).
7
  Unlike under the Sentencing Guidelines for which (as noted above) the government does not
qualify as a victim, see U.S.S.G. § 3A1.2 cmt. n.1, the government or a governmental entity can
be a “victim” for purposes of the VWPA. See United States v. Emor, 850 F. Supp.2d 176, 204 n.9
(D.D.C. 2012) (citations omitted).
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and other victim entities. See PSR ¶ 14.

   VIII. CONCLUSION

       For the reasons set forth above, the government recommends that the Court impose a

sentence of 27 months of imprisonment, a term of supervised release of three years, restitution of

$2,000, and a mandatory special assessment of $100.

                                             Respectfully submitted,

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